                   Case 19-50256-BLS     Doc 22     Filed 04/24/20      Page 1 of 8




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 7

    JEVIC HOLDING CORP., et al., 1                           Case No. 08-11006 (BLS)

                          Debtors.                           (Jointly Administered)


    THE CIT GROUP/BUSINESS CREDIT, INC., as agent
    for itself and the Lender Group,

                   v.                                        Adv. Pro. No. 19-50256 (BLS)

    JEVIC HOLDING CORP.; JEVIC
    TRANSPORTATION, INC.; CREEK ROAD
    PROPERTIES, LLC; GEORGE L. MILLER, solely in
    his capacity as Chapter 7 Trustee of the bankruptcy
    estates of Jevic Holding Corp., et al.; THE
    GOODYEAR TIRE & RUBBER CO.; ACTION
    CALENDAR & SPECIALTY CO., INC.; IRVING OIL
    CORPORATION; HARTFORD FIRE INSURANCE
    COMPANY; THE ILLUMINATING COMPANY;
    PITNEY BOWES GLOBAL FINANCIAL SERVICES,
    LLC; WILLIAMS SCOTSMAN, INC.; SUNGARD
    AVAILABILITY SERVICES LP; PACHULSKI
    STANG ZIEHL & JONES LLP; MORRIS
    ANDERSON & ASSOCIATES; and KLEHR,
    HARRISON, HARVEY, BRANZBURG & ELLERS
    LLP,                                                     Response Deadline: May 15, 2020
                                                             Hearing Date: June 17, 2020 @ 10:00 a.m.

                          Defendants.                        Related to Adv. Pro. Docket Nos. 19 and 20



           JOINDER OF KLEHR HARRISON HARVEY BRANZBURG LLP
      TO THE MOTION OF PACHULSKI STANG ZIEHL & JONES LLP TO DISMISS
    COMPLAINT FOR FAILURE TO STATE A CLAIM PURSUANT TO F.R.C.P. 12(b)(6)




1
  The Debtors in these Chapter 7 cases, along with the last four digits of the Debtors’ federal tax
identification numbers are: Jevic Holding Corp. (8738); Creek Road Properties, LLC (9874); and Jevic
Transportation, Inc. (3402).


PHIL1 8840681v.1
                    Case 19-50256-BLS         Doc 22      Filed 04/24/20      Page 2 of 8




          Klehr Harrison Harvey Branzburg LLP (“KHHB”) hereby joins (the “Joinder”) in

Pachulski Stang Ziehl & Jones LLP’s Motion to Dismiss Complaint for Failure to State a Claim

Pursuant to F.R.C.P. 12(b)(6) [Adv. Pro. Docket No. 19] (the “Motion”) and supporting Brief

[Adv. Pro. Docket No. 20] (the “Brief”)2 filed in connection with the Motion and reserves its right

to file any responsive pleadings with respect to the Motion and be heard at any hearing on the

Motion. In support of its Joinder, the KHHB respectfully represents, in addition to the facts and

legal arguments set forth in the Brief which are incorporated by reference herein as to KHHB, as

follows:

               I.     INTRODUCTION AND SUMMARY OF ADDITIONAL FACTS

      A. The Bankruptcy Cases

          1.        On May 20, 2008 (the “Petition Date”), Jevic Holding Corporation (“Jevic

Holding”), Creek Road Properties, LLC, and Jevic Transportation, Inc. (collectively, the

“Debtors”) filed voluntary petitions for relief under chapter 11 of Title 11 of the United States

Code (the “Bankruptcy Code”) in this Court (the “Bankruptcy Court”), commencing the above-

captioned bankruptcy cases (the “Cases”).3

          2.        On June 4, 2008, the United States Trustee appointed the Official Committee of

Unsecured Creditors of the Debtors (the “Committee”). 4

      B. The Liquidation of Assets for the benefit of CIT

          3.        The Debtors were a hybrid less-than-truckload and truckload carrier that provided

regional and inter-regional time definite delivery across the United States and parts of Canada.




2
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to such term as set forth
in the Brief.
3
  References to pleadings filed in the Cases are indicated by “D.I.”
4
  D.I. 77.

                                                      2
PHIL1 8840681v.1
                   Case 19-50256-BLS        Doc 22     Filed 04/24/20    Page 3 of 8




        4.         Immediately prior to the Petition Date, the Debtors commenced a wind-down

process pursuant to which they ceased substantially all of their operations and terminated

approximately 90% of their employees. Post-petition, all of the Debtors’ tangible assets were

liquidated, and the proceeds were used to repay the outstanding obligations owed to CIT

Group/Business Credit, Inc. (“CIT”).

    C. The consensual use of cash collateral, provisions for a Carve-Out for Professionals
       including KHHB, and Final Approval of Professional Fees and Expenses

        5.         The Debtors funded the liquidation of their assets and wind down of their business

through a series of orders authorizing debtor-in-possession financing and the consensual use of

cash collateral that each included the funding of budgeted “carve-outs” of the secured lenders’

collateral for the payment of estate professionals, including KHHB. The cash collateral orders and

the amount of the budgeted carve-outs for KHHB reflected in each cash collateral order,

aggregating $2,271,000.00, are as follows (collectively, the “Cash Collateral Orders”):

        (a)        Final Order (I) Authorizing Debtors-In-Possession to Obtain Senior Debtor-in-
                   Possession Financing; (II) Granting Liens, Security Interests and Superpriority
                   Status; (III) Authorizing Use of Cash Collateral; and (IV) Affording Adequate
                   Protection to Prepetition Lenders [D.I. 118], with a budgeted “carve-out” for
                   KHHB of $570,000;

        (b)        Order (1) Authorizing Debtors-in-Possession to Enter into First Amendment to
                   Debtor-in-Possession Credit, Guaranty, and Security Agreement; and (2)
                   Amending Final Order (I) Authorizing Debtors-in-Possession to Obtain Senior
                   Debtor-in-Possession Financing; (II) Granting Liens, Security Interests, and
                   Superpriority Status; (III) Authorizing Use of Cash Collateral; and (IV) Affording
                   Adequate Protection to Prepetition Lenders [D.I. 217], with a budgeted “carve-out”
                   for KHHB of $80,000;

        (c)        Order (1) Authorizing Debtors-in-Possession to Enter Into Second Amendment to
                   Debtor-in-Possession Credit, Guaranty and Security Agreement; and (2) Amending
                   Final Order (I) Authorizing Debtors-in-Possession to Obtain Senior Debtor-in-
                   Possession Financing; (II) Granting Liens, Security Interests, and Superpriority
                   Status; (III) Authorizing Use of Cash Collateral; and (IV) Affording Adequate
                   Protection to Prepetition Lenders [D.I. 290], with a budgeted “carve-out” for
                   KHHB of $56,000;


                                                   3
PHIL1 8840681v.1
                   Case 19-50256-BLS       Doc 22      Filed 04/24/20   Page 4 of 8




        (d)        Order (1) Authorizing Debtors-in-Possession to Enter Into Third Amendment to
                   Debtor-in-Possession Credit, Guaranty and Security Agreement; and (2) Amending
                   Final Order (I) Authorizing Debtors-in-Possession to Obtain Senior Debtor-in-
                   Possession Financing; (II) Granting Liens, Security Interests, and Superpriority
                   Status; (III) Authorizing Use of Cash Collateral; and (IV) Affording Adequate
                   Protection to Prepetition Lenders [D.I. 368], with a budgeted “carve-out” for
                   KHHB of $100,000;

        (e)        Order (A) Authorizing the Debtors' Use of Cash Collateral, and (B) Granting
                   Adequate Protection [D.I. 477], with a budgeted “carve-out” for KHHB of $60,000

        (f)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 582], with a budgeted “carve-out” for KHHB of $147,000;

        (g)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 654], with a budgeted “carve-out” for KHHB of $75,000;

        (h)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 715], with a budgeted “carve-out” for KHHB of $85,000;

        (i)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [Docket No. 862], with a budgeted “carve-out” for KHHB of $158,000;

        (j)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 1017], with a budgeted “carve-out” for KHHB of $110,000;

        (k)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 1103], with a budgeted “carve-out” for KHHB of $45,000;

        (l)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 1166 , with a budgeted “carve-out” for KHHB of $30,000;

        (m)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 1223 , with a budgeted “carve-out” for KHHB of $60,000;

        (n)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I.1312], with a budgeted “carve-out” for KHHB of $90,000;

        (o)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I.1405], with a budgeted “carve-out” for KHHB of $90,000;

        (p)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I.1511], with a budgeted “carve-out” for KHHB of $140,000;




                                                   4
PHIL1 8840681v.1
                   Case 19-50256-BLS         Doc 22      Filed 04/24/20    Page 5 of 8




        (q)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I.1586], with a budgeted “carve-out” for KHHB of $120,000;

        (r)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I.1587 , with a budgeted “carve-out” for KHHB of $150,000; and

        (s)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 1675], with a budgeted “carve-out” for KHHB of $105,000.

        6.         In addition to the $2,271,000.00 of funded “carve-outs” under the Cash Collateral

Orders, as reflected on the Debtor-In-Possession Monthly Operating Report for Filing Period May

20, 2008 - June 30, 2008 for Jevic Transportation, Inc. [D.I. 190], KHHB held a retainer of

$100,853.00 at the commencement of the cases. Consequently, the total amount of funds carved

out of secured creditors collateral and retainer held by KHHB to fund payment of fees and expenses

of KHHB was $2,371,583.00 (collectively, the “KHHB Carve-Out”).

        7.         On September 26, 2013, the Court entered the Fifth Omnibus Awarding Final

Allowance of Compensation for Services Rendered and Reimbursement of Expenses [D.I. 1729]

(the “Final Fee Order”) approving on a final basis payment of fees and expenses to KHHB in the

amount of $2,269,253, an amount that was $102,700 less than the KHHB Carve-Out.

                                      II.     KHHB’S JOINDER

        8.         KHHB agrees with the arguments set forth in the Motion and Brief, including the

relief requested therein, and accordingly files this Joinder in support of the Motion, incorporates

by reference, and hereby joins in, and adopts, all arguments set forth in the Brief, and sets forth

the additional basis in support of the request of KHHB to dismiss the Complaint as to KHHB.

                              III.       ADDITIONAL ARGUMENT

        A. CIT fails to state a claim for a declaratory judgment against KHHB

        9.         In the first instance, Count 1 seeks a declaratory judgment that, among other things,

“(ii) CIT is entitle[d] to recover from [KHHB] the funds disbursed from the Administrative Fund.


                                                     5
PHIL1 8840681v.1
                   Case 19-50256-BLS        Doc 22      Filed 04/24/20    Page 6 of 8




        10.        The KHHB Carve-Out set forth in the Cash Collateral Orders totaled

$2,371,583.00. The Final Fee Order approved on a final basis provided for the payment of fees

and expenses to KHHB in the amount of $2,269,253, an amount that was $102,700 less than the

KHHB Carve-Out.

        11.        The Administrative Fund was not the sole source of payment to administrative

creditors. The Debtors had funds on hand as well as the carve-out amounts under the Cash

Collateral Orders to pay KHHB and other professionals. Because the KHHB Carve-Out was not

exhausted by the finally approved fees and expenses of KHHB, the Administrative Fund was not

needed to pay KHHB. Rather, the Administrative Fund was used to pay other administrative and

other claims.

        12.        KHHB’s entitlement to payment from the Debtors’ estates did not arise from the

Settlement Agreement, but rather by virtue of sections 330 and 1103 of the Bankruptcy Code.

Moreover, the Court approved KHHB’s fees for services rendered and expenses incurred in

furtherance of its representation of the Debtors through quarterly fee orders and the Final Fee

Order (collectively, the “Fee Orders”)—final orders of this Court which CIT never opposed—not

the Settlement Approval Order.

        13.        Consequently, there is no factual or legal basis for CIT to recover damages or

restitution from KHHB, nor is it entitled to a declaratory judgment to that effect.

        B. The Complaint fails to state a claim for Restitution against KHHB and Even if
           “Restitution Due to Unjust Enrichment” could displace section 549 of the
           Bankruptcy Code, it would be inequitable to do so against KHHB.

        14.        Restitution is an equitable remedy, and no party is absolutely entitled to it in all

circumstances. See, e.g., Nelson, 137 S. Ct. at 1260 (restitution is “‘equitable in origin and

function,’ and return of the money was ‘not of mere right,’ but ‘rest[ed] in the exercise of a sound



                                                    6
PHIL1 8840681v.1
                   Case 19-50256-BLS        Doc 22     Filed 04/24/20    Page 7 of 8




discretion.’”) (quoting Atlantic Coast R. Co., 295 U.S. at 309-10). Similarly, unjust enrichment

“is undoubtedly equitable and depends upon broad considerations of equity and justice.”

Paramount Film Distrib. Corp. v. State, 30 N.Y.2d 415, 421 (1972).

        15.        KHHB has not been unjustly enriched, nor is it inequitable that KHHB received the

payments from the Debtors. KHHB’s entitlement to payments did not arise out of the Settlement

Agreement or Settlement Approval Order, but through the Court’s Fee Orders and Cash Collateral

Orders. KHHB was paid by the Debtors just as any other estate professional in any other

bankruptcy case—by applying for compensation and expense reimbursement under section 330 of

the Bankruptcy Code and, upon receiving Court approval, being paid those allowed amounts from

the Debtors from available estate funds and, specifically here, from the KHHB Carve-Out.

Furthermore, in no way did KHHB act inequitably. KHHB was paid for services rendered to the

Debtors (including services to liquidate the assets of the Debtors that paid CIT in full and in support

of the settlement CIT was supporting as well) and was entitled to rely on the Court’s Final Fee

Order allowing its fees and expenses on a final basis under section 330 of the Bankruptcy Code

when it received payment. Also, CIT was aware the payment was made and did not request or

obtain the agreement of KHHB (or any other professional) to return the funds if the Settlement

Approval Order were overturned. CIT was under no compulsion to pay the $2,000,000 unless a

Final Order were entered, and assumed the risk of closing on less than a Final Order that unwinding

the settlement and recouping its settlement payment was not assured. CIT closed in the face of the

Settlement Approval Order not being final for its own benefit.

        16.        “[R]estitution is inequitable where the payor seeks to recoup a payment, though he

has obtained a benefit from that payment which he intends to retain.” Mazza v. Sheet Metal

Workers’ Nat’l Pension Fund, 410 F. App’x 464, 468 n.1 (3d Cir. 2010) (citing Operating Eng’rs



                                                   7
PHIL1 8840681v.1
                   Case 19-50256-BLS          Doc 22     Filed 04/24/20   Page 8 of 8




Local 139 Health Benefit Fund v. Gustafson Constr., 258 F.3d 645, 651 (7th Cir. 2001)). But that

is precisely what CIT is trying to do here. By simultaneously seeking $2 million in this Adversary

Proceeding while also opposing the Motion to Substitute, CIT is attempting to retain the benefit

of the release in the Settlement Agreement as well as get $2 million back. At the least, KHHB

submits that this Adversary Proceeding should be stayed until the Motion to Substitute is fully and

finally resolved because, should CIT’s position with respect to the Motion to Substitute prevail, it

will receive a de facto release and the alleged “inequity” it cites in the Complaint5 will indisputably

not exist.

          17.      Consequently, there is no factual or legal basis for CIT to recover damages or

restitution from KHHB, nor is it entitled to a declaratory judgment to that effect.

                                        IV.      CONCLUSION

          18.      Accordingly, for the reasons set forth herein, KHHB respectfully requests that the

Court dismiss the Adversary Proceeding with prejudice and grant such other and further relief as

it deems just and proper.


Dated: April 24, 2020                         /s/ Domenic E. Pacitti
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    See, e.g., Complaint ¶ 68.

                                                     8
PHIL1 8840681v.1
